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 13                          UNITED STATES DISTRICT COURT
 14                         CENTRAL DISTRICT OF CALIFORNIA
 15   UNITED STATES OF AMERICA,                )
 16      et al.,                               )
                                               ) CASE N0. 91-0589 (CJC)
 17                       Plaintiffs,          )
 18                  v.                        ) UNITED STATES’ MEMORANDUM
                                               ) IN OPPOSITION TO DEFENDANTS’
 19   SHELL OIL COMPANY, et al.,               ) EX PARTE APPLICATION TO
 20                                            ) CONTINUE SUMMARY
                          Defendants.          ) JUDGMENT HEARING
 21
                                                ) Date
 22                                             ) Time:     1:30 p.m.
                                               ) Courtroom: 9B, Ronald Reagan Fed.
 23
                                               ) Bldg. and Courthouse
 24                                            ) Judge:      Honorable Cormac J.
                                               )            Carney
 25

 26   __________________________________________________________________
 27

 28


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      Memorandum in Opposition to Ex Parte Application to Continue Summary Judgment Hearing (CV 91-0589 CJC)
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  1                                     INTRODUCTION
  2        The United States (“Plaintiff”) opposes Defendants’ Ex Parte Application
  3
      submitted four days before their response to the United States’ properly noticed
  4

  5   Summary Judgment Motion is due. Defendants’ Ex Parte Application is nothing
  6
      more than a continuing pattern to further delay the United States’ right to recover
  7
      response costs for which the Defendants were found jointly and severally liable by
  8

  9   this Court in 1993. Transparency reveals that Defendants are presenting a Fed. R.
 10
      Civ. P. 56(d) motion, as well as a motion to modify an existing scheduling order in
 11
      their emergency ex parte application, which, as the court in Mission Power Eng’g
 12

 13   Co. v. Cont’l Cas. Co. held, “are rarely justified.” 883 F. Supp. 488, 490, 493 (C.D.
 14
      Cal. 1995). As shown below, Defendants fail to satisfy: (1) the requirements for
 15
      delaying the United States’ properly noticed Motion for Summary Judgment, (2)
 16

 17   the burden established by this Court’s scheduling order and Ninth Circuit case law
 18
      for extending discovery in this ancient case, or (3) the legal standard required to
 19
      support their ex parte application.
 20

 21                                         ARGUMENT
 22
              A.       Defendants Cannot Meet Their Burden Under Fed. R. Civ. P. 56(d)
 23
              Fed. R. Civ. P. 56(d) allows for a continuance when “a nonmovant shows
 24

 25   by affidavit or declaration that, for specified reasons, it cannot present facts
 26
      essential to justify its decision.” In such circumstances, “the court may . . . allow
 27

 28
      time to obtain affidavits or declarations or to take discovery.” Id. Defendants


                                                  2
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  1   “must show (1) that they have set forth in affidavit form the specific facts that they
  2
      hope to elicit from further discovery, (2) that the facts sought exist, and (3) that
  3

  4   these sought after facts are ‘essential’ to resist the summary judgment motion.”

  5   State of California v. Campbell, 138 F.3d 772, 779 (9th Cir. 1998). See also
  6
      Chance v. Pac-Tel Teletrac, Inc., 242 F.3d 1151, 1161, n.6 (9th Cir. 2001) (“The
  7

  8   burden is on the party seeking additional discovery to proffer sufficient facts to
  9   show that the evidence sought exists, and that it would prevent summary
 10
      judgment.”) (citation omitted). Defendants have failed to identify the “specific
 11

 12   facts” they hope to elicit or how they are “‘essential’ to resist the summary
 13   judgment motion,” nor can they.
 14
           The Ninth Circuit has recognized the ability of a district court to deny further
 15

 16   discovery if the movant has failed to diligently pursue discovery in the past, as is
 17   the case here, or if the movant fails to show how the information sought would
 18
      preclude summary judgment. Employers Teamsters Local Nos. 175 and 505
 19

 20   Pension Trust Fund v. Clorox Co., 353 F.3d 1125, 1129-30 (9th Cir. 2004). In
 21
      Clorox, the movants did not notice depositions even after Clorox gave notice of its
 22
      plans to move for partial summary judgment. As the court noted, “[t]his calls their
 23

 24   diligence into question.” Id. at 1130. As shown below, Defendants here are not
 25
      entitled to a continuance because they have failed to meet any of requirements of
 26
      Rule 56(d).
 27

 28        In Harris v. Duty Free Shoppers, Ltd., the court held that “[o]rdinarily,

                                                  3
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  1   summary judgment should not be granted where there are relevant facts remaining
  2
      to be discovered, but the party seeking discovery bears the burden of showing what
  3

  4   specific facts it hopes to discover that will raise an issue of material fact.” 940 F.

  5   2d 1272, 1276 (9th Cir. 1991). And, in Terrell v. R. D. Brewer, the court held that
  6
      denial of an application to stay a motion for summary judgment was proper when
  7

  8   the discovery being sought is the object of speculation. 935 F. 2d. 1015, 1018 (9th
  9   Cir. 1990). The court in Terrell further held that the party seeking the stay of
 10
      summary judgment has the burden of showing that evidence exists that would
 11

 12   create a disputed issue of fact. Also see Mackey v. Pioneer Nat’l Bank, 867 F. 2d.
 13   520, 524 (9th Cir. 1989) (citing Brae Transp. Inc. v. Coopers & Lybrand, Inc., 790
 14
      F. 2d. 1439, 1443 (9th Cir. 1986)). There the court held that a party seeking to
 15

 16   delay summary judgment “must show how additional discovery would preclude
 17   summary judgment and why a party cannot immediately provide ‘specific facts’
 18
      demonstrating a genuine issue of material fact.” 867 F. 2d. at 524. The Ninth
 19

 20   Circuit has repeatedly held that “‘[r]eferences in memoranda and declarations to a
 21
      need for discovery do not qualify as motions under Rule [56(d)] . . . . We have
 22
      stated that ‘[f]ailure to comply with the requirements of Rule [56(d)] is a proper
 23

 24   ground for denying discovery and proceeding to summary judgment.’” Campbell,
 25
      138 F.3d at 779 (quoting Brae Transp., 790 F.2d at 1443).
 26
           The Defendants utterly failed in their application to meet the requirements
 27

 28   established by the Ninth Circuit to specify facts essential to their opposition.

                                                  4
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  1   Defendants’ memorandum contains only a cursory Rule 56(d) argument in one
  2
      paragraph, and elsewhere merely references numerous documents already in its
  3

  4   possession and its inability to depose a declarant without explaining what specific

  5   facts would show a disputed issue of material fact. Mem. In Supp. Of Ex Parte
  6
      Application at 4, 5-6. Moreover, Defendants have not, and cannot, point to
  7

  8   “specific facts” casting any doubt on the knowledge or the credibility of the
  9   Governments’ declarants that may be “essential” to resist summary judgment. The
 10
      Defendants’ contention that they just learned of the claims presented in the United
 11

 12   States’ summary judgment motion is simply factually not true. The Defendants
 13   have had a virtually identical motion since the United States’ 2006 motion for
 14
      summary judgment was filed. There are two issues in the United States’ motion for
 15

 16   summary judgment: whether EPA’s selection of response actions was consistent
 17   with the National Contingency Plan, a determination made on the administrative
 18
      records for those response action selections, see 42 U.S.C. § 9613(j) and Order by
 19

 20   J. Kelleher dated Feb. 16, 1993 (attached as Exhibit A) and the amount of the
 21
      United States’ costs. Defendants have had the entire administrative record for well
 22
      over fourteen years, and as detailed below, the United States provided all of the cost
 23

 24   documents to Defendants well in advance of filing its motion. (Weinischke
 25
      Declaration, attached as Exhibit B.)
 26
           Like the Motion filed July 10, 2020, the 2006 motion provided similar cost
 27

 28   summaries and supporting declarations – indeed, only eight of the “57 exhibits

                                                5
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  1   numbering in the thousands of pages,” Mem. In Supp. Of Ex Parte Application at 6,
  2
      contain some amount of new information, as the remaining forty-nine exhibits were
  3

  4   filed with the 2006 motion. The United States has continuously provided all cost

  5   documentation sought by the Defendants and has asked the Defendants to identify
  6
      any cost documentation that the United States possesses that they may wish to see.
  7

  8   The costs ranging from 1990 to 2004 are the same costs sought in 2006, for which
  9   Defendants have had the supporting documents since before the United States filed
 10
      its 2006 Motion. As to the costs after 2004, the United States provided extensive
 11

 12   cost summaries to the Defendants for costs through December 31, 2012 in a
 13   demand dated November 21, 2013, and United States provided cost summaries for
 14
      all costs through July 31, 2018, prior to a May 20, 2019, meeting of all Parties to
 15

 16   this action, which it replaced with slightly revised versions of those cost summaries
 17   on December 5, 2019. When EPA finished scanning all of the supporting
 18
      documents underlying the post-2004 costs and secured a protective order to protect
 19

 20   confidential information from being disclosed, it provided the electronic documents
 21
      to the Defendants by overnight mail, delivered on February 3, 2020 – five and a
 22
      half months ago. Finally, when the United States’ declarant Wiley Wright
 23

 24   completed his review of the supporting cost documents and identified a few that
 25
      were missing, EPA provided those few additional documents to the Defendants on
 26
      May 27, 2020. These are the very documents Defendants now refer to as “an
 27

 28   unknown number of documents” and suggest that they lack. Mem. In Supp. Of Ex

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  1   Parte Application at 4, 6.
  2
           In addition, the United States provided in 2019, upon the Defendants’ request,
  3

  4   a declaration explaining the United States’ methodology in calculating certain costs.

  5   The content of that declaration is the same as the Osbourne Declaration filed with
  6
      the United States’ Motion for Summary Judgment. The United States further
  7

  8   provided, again at the Defendants’ request, factual and legal grounds for the accrual
  9   of interest on the costs incurred by the United States on May 20 and 24, 2019. Not
 10
      only are the cost summaries and declarations attached to the 2020 Motion
 11

 12   comparable to those attached to the 2006 motion, they are precisely like those
 13   which the Ninth Circuit has found sufficient to support the United States’ motion to
 14
      recover response costs. See United States v. Chapman, 146 F.3d 1166, 1171 (9th
 15

 16   Cir. 1998) (declarations from EPA staff, attorneys, accountants, and cost summaries
 17   sufficient to support grant of summary judgment on CERCLA response costs).
 18
      Defendants’ proposed discovery cannot change that fact. It can only serve their
 19

 20   goal of further frustrating one of the primary objectives of a remedial statute
 21
      entitled to liberal construction.
 22
           Defendants have also failed to meet their burden of demonstrating diligence in
 23

 24   pursuing discovery. Defendants’ memorandum notes that the case was stayed in
 25
      2007. Mem. In Supp. Of Ex Parte Application at 2-3. But Judge Kelleher’s order
 26
      did not entirely stay all aspects of the litigation; rather, he ordered that no additional
 27

 28   dispositive motions were to be filed without his permission. Docket No. 610 ¶ 3.

                                                  7
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  1   Discovery requests and motions to modify a scheduling order and to compel
  2
      discovery are not dispositive. Even if Defendants misunderstood Judge Kelleher’s
  3

  4   order, this Court lifted the stay on October 23, 2019 (Docket No. 669), providing

  5   Defendants ample time to seek to reopen discovery, which had closed by Judge
  6
      Kelleher’s April 21, 1992, order (attached as Exhibit C), or to seek reconsideration
  7

  8   of Judge Kelleher’s February 16, 1993, order limiting the remaining issue in the
  9   case to review on the administrative record, under which the Defendants’ only
 10
      option was to move to supplement the administrative record. Indeed, in
 11

 12   Defendants’ opposition to Plaintiffs’ motion to lift the stay, they argued that
 13   “additional fact discovery and expert disclosures will be required prior to any
 14
      motion for summary judgment.” Docket No. 667 at 4. Yet they made no such
 15

 16   attempt when the stay was lifted on October 23, 2019, nor following the first meet
 17   and confer about the United States’ motion on December 18, 2019, nor at the
 18
      second meet and confer on the motion on March 23, 2019. Defendants’ lack of
 19

 20   diligence fails to satisfy the Ninth Circuit’s standards.
 21
           B.    Defendants Fail to Satisfy Requirements to Modify Existing Scheduling
 22
                Order
 23

 24        Defendants acknowledge that they first served the discovery requests at issue
 25
      on May 8, 2020. The Defendants withdrew their May 8 discovery and informed the
 26

 27

 28


                                                  8
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  1   United States (and State) that they would move the Court to reopen discovery. 1 In
  2
      doing so, Defendants completely ignored this Court’s prior scheduling orders
  3

  4   closing discovery on September 8, 1992. The Court’s first Order Re Discovery

  5   Cut-Off and Notice of Pre-Trial Conference was issued on October 30, 1991
  6
      (attached as Exhibit D), and it required that the Defendants complete all discovery
  7

  8   no later than July 30, 1991, and only allowing for extensions “FOR LEGAL
  9   CAUSE TIMELY SHOWN IN WRITING.” Order Re Discovery and Notice of
 10
      Pre-Trial Conference (Oct. 30, 1991) (emphasis in original) (Order attached hereto).
 11

 12   On April 21, 1992, the Court issued a Stipulation and Agreement Extending
 13   Discovery Schedule Order Thereon which required the parties to complete all
 14
      discovery by September 8, 1992. That Order is attached hereto. No other
 15

 16   scheduling order was ever issued by the Court and no party ever sought leave in
 17   writing for an extension of discovery as required by the Court’s October 30, 1991,
 18
      Order.
 19

 20        There is no argument that the discovery cut-off date has long-since passed, and
 21
      it is equally clear that Defendants have not made any request in writing for an
 22
      extension for their recently propounded discovery requests. And, as explained in
 23

 24
      1
        Defendants refer to this as the “Discovery Dispute,” and the United States does
 25   not concede that the Discovery Dispute is properly before the Court at this time.
      L.R. 37-3 provides that, “[u]nless the Court in its discretion otherwise allows, no
 26   discovery motions may be filed or heard on an ex parte basis absent a showing of
      irreparable injury or prejudice not attributable to the lack of diligence of the moving
 27   party.” Defendants have made no attempt to argue irreparable injury or prejudice
      not attributable to the lack of diligence.
 28


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  1   more detail herein, Defendants already have all of relevant information they need
  2
      and to which they are entitled. Additionally, to the extent that Defendants believe
  3

  4   that additional discovery is needed, they have had ample opportunity to request

  5   leave of the court to seek such discovery over the past 27 years. Instead,
  6
      Defendants have waited until now, days after Plaintiffs provided notice that they
  7

  8   would be submitting updated versions of the motions for summary judgment
  9   originally filed in 2006 to seek discovery.
 10
           The Defendants undertook the exact same discovery tactic when they were
 11

 12   notified that the United States was going to file a motion for summary judgment in
 13   2006. Then, despite having known full well of the costs incurred and being
 14
      incurred by the United States, at the very least, since entry of the Partial Consent
 15

 16   Decree in 1994, the Defendants never expressed any desire to conduct discovery
 17   until the United States moved for summary judgment. In fact, the issue of whether
 18
      the Defendants were entitled to discovery beyond the Court’s discovery cutoff was
 19

 20   fully briefed in 2006 by both the Plaintiffs and Defendants, following the filing of
 21
      the summary judgment motions in 2006. Having been fully briefed, the Court ruled
 22
      that the Plaintiff s’ Motions for Recovery of Costs were ripe for adjudication on the
 23

 24   papers submitted. The Court advised the parties that they would be notified when a
 25
      decision on the cost recovery motions was reached. See Minutes of in Chambers
 26
      Order, March 20, 2006, (Docket No. 583), in which the Court referenced the
 27

 28   Plaintiffs’ Summary Judgment Motions for recovery of costs, the Defendants’

                                                10
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  1   Motions for an Order Denying Plaintiffs’ Premature Motions for Summary
  2
      Judgment, and the State’s Motion for a Protective Order barring discovery by the
  3

  4   Oil Company Defendants. The Court added that, pursuant to Rule 78 of the Federal

  5   Rules of Civil Procedure and Local Rule 7-15, the Plaintiffs’ Motions for Summary
  6
      Judgment are appropriate for decision without oral argument. The scheduled
  7

  8   hearings were vacated and the matters were deemed submitted.
  9        Ultimately, rather than decide the Motions, the Court vacated the March 20,
 10
      2006 Order to allow resolution of the Defendants’ contract dispute in the Court of
 11

 12   Federal Claims before ruling on the Plaintiffs’ summary judgment motions. This
 13   Court should recognize the Defendants’ discovery tactics as nothing more than an
 14
      attempt to further delay reimbursing the United States’ costs for which they have
 15

 16   been found jointly and severally liable.
 17        Moreover, even if the Court were to overlook Defendants’ abject failure to
 18
      comply with the prior discovery orders, Defendants cannot show legal cause to
 19

 20   extend the discovery period under the six factor test established by City of Pomona
 21
      v. SQM N. Am. Corp., 886 F.3d 1060 (9th Cir. 2017). Pursuant to City of Pomona,
 22
      district courts should consider the following factors when evaluating a motion to
 23

 24   reopen discovery: “1) whether trial is imminent, 2) whether the request is opposed,
 25
      3) whether the non-moving party would be prejudiced, 4) whether the moving party
 26
      was diligent in obtaining discovery within the guidelines established by the court,
 27

 28   5) the foreseeability of the need for additional discovery in light of the time allowed

                                                 11
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  1   for discovery by the district court, and 6) the likelihood that discovery will lead to
  2
      relevant evidence.” Id. at 1066 (quoting United States ex rel. Schumer v. Hughes
  3

  4   Aircraft Co., 63 F.3d 1512, 1526 (9th Cir. 1995)).

  5        First, while trial is not imminent, the other factors in the City of Pomona case
  6
      expose the fatal flaws in Defendants’ ex parte application. Defendants only
  7

  8   propounded the discovery after the Plaintiffs scheduled a meet and confer, as
  9   required by Local Rules, with respect to their Motions for Summary Judgment.
 10
          With regard to the second and third factors, the United States does indeed
 11

 12   object to the Defendants’ belated attempt to conduct discovery, and, as it has been
 13   for the past fourteen years, the public is prejudiced by the Defendants’ failure to
 14
      reimburse the United States for response costs for which they have been found
 15

 16   liable. United States v. Shell Oil Co., 841 F. Supp. 962, 975 (C.D. Cal. 1993).
 17   Clearly, with respect to the fourth factor, Defendants cannot contend that they were
 18
      diligent in obtaining discovery within the guidelines established by this Court, and
 19

 20   thus the fourth factor in Pomona by itself is sufficient to bar the Defendants’
 21
      discovery requests.
 22
           Elaborating further on the fourth and fifth prongs set out in Pomona,
 23

 24   the Defendants cannot make the requisite showing that they were diligent in
 25
      obtaining discovery within the guidelines established by the Court, nor can they
 26
      contend that any need for additional discovery was not foreseeable within the time
 27

 28   allowed by the Court for discovery. As recently as the status conference before this

                                                 12
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  1   Court last August when the United States requested that the Court lift the stay
  2
      barring the filing of dispositive motions, the United States made clear its intention
  3

  4   to re-file its Motion for Summary Judgment for the recovery of response costs. But

  5   Defendants’ full awareness of the United States’ commitment to recovering
  6
      response costs owed by the Defendants dates back much farther. For example, in
  7

  8   an August 2003 Joint Submittal to the Court, under the heading “Determination of
  9   Outstanding Costs Not Previously Resolved,” the Plaintiffs set forth the amount of
 10
      money they were owed by the Defendants. Docket No. 507 at 18. The United
 11

 12   States noted in the Joint Submittal that it had recently demanded reimbursement of
 13   costs from the Defendants and provided the Defendants with a standard cost
 14
      summary and interest calculation. Id. at 19. The United States added that they
 15

 16   would meet with the Defendants “for the purpose of conferring and negotiating a
 17   resolution of its cost claims.” Id. In the same section of the Joint Submittal, the
 18
      Defendants represented to this Court that they “recommend that the parties be
 19

 20   directed to meet and confer and negotiate with respect to the outstanding cost
 21
      claims of the United States and the State to determine if stipulations can be arrived
 22
      at for presentation to the Court for incorporation in a further judgment.” Id. at 19-
 23

 24   20.
 25
            The next month (September 2003), the parties did in fact meet at EPA’s
 26
      offices in San Francisco to discuss Plaintiffs’ cost claims. To accommodate the
 27

 28   Defendants, the United States brought two cost recovery specialists from EPA,

                                                13
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  1   along with EPA’s project manager for the McColl Site, to the meeting to answer
  2
      any questions the Defendants had about the costs. Except for a few documents,
  3

  4   which the Defendants requested and EPA promptly provided, the Defendants said

  5   they had everything they needed. At the close of the meeting, the Defendants said
  6
      they would get back to us to address any concerns they had with the costs. They
  7

  8   never did contact the United States. And, while a resolution was not reached, the
  9   Defendants never expressed any need or desire to conduct discovery or obtain
 10
      additional information or documentation. See Ex. A to the United States’ Motion
 11

 12   for a Protective Order (Mar. 9, 2006), Docket No. 567.
 13        With respect to the sixth Pomona prong, the only issue that remains in this
 14
      case is whether the Defendants can show on the administrative records that the
 15

 16   United States’ costs were incurred in a manner not consistent with the National
 17   Contingency Plan (“NCP”). The Defendants have had the administrative records
 18
      for at least sixteen years. They cannot show that discovery on the only issue in the
 19

 20   case will, therefore, lead to relevant evidence.
 21
           C.    Standard for Ex Parte Application
 22
           In order for the Defendants to meet their burden of showing that ex parte relief
 23

 24   is warranted, they must demonstrate that their opposition will be “irreparably
 25
      prejudiced” if the United States’ summary judgment motion is heard according to
 26
      regularly noticed motion procedures, and that they are “without fault in creating the
 27

 28   crisis that requires ex parte relief, or that the crisis occurred as result of excusable

                                                  14
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  1   neglect.” Mortgage Grader, Inc. v. Lenderfi, Inc., No. 10-01521-CJC, 2012 WL
  2
      13014970, at *1 (C.D. Cal. June 22, 2012) (quoting Mission Power Eng’g Co., 883
  3

  4   F. Supp. at 492).

  5        In light of the length of time in which the United States has endeavored to
  6
      recover response costs from the Defendants, this Court must not permit a further
  7

  8   delay of reimbursement due to the Defendants’ failure to seek any discovery until
  9   the United States informed them of what they already knew – the intention to file
 10
      for summary judgment. “The moving party must show that it used the entire
 11

 12   discovery period efficiently and could not have, with due diligence, sought to
 13   obtain the discovery earlier in the period.” Mission Power Eng’g Co., 883 F. Supp.
 14
      at 493. Defendants cannot, with a straight face, contend that they could only seek
 15

 16   discovery when the United States moved for summary judgment. They literally
 17   have had years to do so. Furthermore, Defendants cannot show that they are
 18
      irreparably prejudiced by this Court hearing the United States’ summary judgment
 19

 20   motion because they are wholly unable to show what specific facts exist which
 21
      would create a genuine issue of disputed fact. Defendants’ burden is to
 22
      demonstrate on the administrative records that the United States response costs
 23

 24   were incurred in a manner inconsistent with the NCP. See 42 U.S.C. § 9613(j).
 25
      They are not prejudiced by a denial of their ex parte application because the
 26
      discovery they are seeking is not in the administrative records, which they have had
 27

 28   at least since they were lodged with the Court in 2006. Certainly, the Defendants

                                               15
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  1   cannot maintain that their failure to reopen and conduct discovery over the past
  2
      fourteen years was not entirely of their own making.
  3

  4         When the Court granted the Plaintiffs’ Motion to bifurcate the Defendants’

  5   counterclaims and proceed on the Governments’ cost recovery claims, it reasoned
  6
      that preventing the Governments’ “expeditious recovery of response costs . . .
  7

  8   would inappropriately prejudice the public welfare by slowing replenishment of the
  9   Superfund.” Shell Oil Co., 841 F. Supp. at 975. On the flip side, the Defendants
 10
      would not be unduly prejudiced because “they will be reimbursed in the future for
 11

 12   any costs . . . that are properly attributable to other parties.” Id. In lifting the stay,
 13   this Court reinforced that conclusion, deciding that “[m]aintaining the stay may
 14
      damage ‘the public welfare,’ which is advanced by ‘replenishment of the
 15

 16   Superfund,’ and that, ‘[i]f it later turns out that the Oil Companies are entitled to
 17   compensation, they will be reimbursed, so the hardship or inequity in being
 18
      required to go forward is low.” Order Granting Plaintiffs’ Motion to Lift Stay (Oct.
 19

 20   23, 2019), Docket No. 669 at 3. In fact, that is precisely what has occurred. In
 21
      2018, the Defendants obtained a $99 million judgment against the United States for
 22
      costs they incurred related to the McColl Site, and three weeks ago they were
 23

 24   awarded another $1.6 million judgment. Shell Oil Co. v. United States, No. 19-
 25
      1795C, 2020 WL 3618890, at *12 (Fed. Cl. June 29, 2020). Presumably, the
 26
      Defendants will seek to recover any costs they are required to pay as a result of the
 27

 28   United States’ Motion for Summary Judgment.

                                                  16
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  1           As previously stated, this Court ruled that there was only one issue remaining
  2
      in this case and that is whether the costs claimed by the Governments were incurred
  3

  4   in a manner consistent with the NCP. Shell Oil Co., 841 F. Supp. at 975.

  5   Defendants’ discovery far exceeds the scope of the issue that remains before the
  6
      Court. The Defendants’ discovery requests cover the following three topics; (1) the
  7

  8   work performed by the United States at the McColl Site and the consistency of that
  9   work with the National Contingency Plan, (2) the United States’ methodology for
 10
      allocating contractor costs that are associated with site-remediation generally but
 11

 12   not any specific CERCLA clean-up site, a topic which does not appear in the
 13   Defendants’ July 7, 2020, letter,2 (3) the United States’ calculation of interest, and
 14
      (4) the United States’ methodology and calculation of indirect costs from 1990 to
 15

 16   1994.
 17        On the first issue, CERCLA and the law of the case is clear. The United
 18
      States’ costs for the response actions at the McColl Site are recoverable so long as
 19

 20   the actions are not inconsistent with the NCP. 42 U.S.C. § 9607(a)(4)(A);
 21
      Chapman, 146 F.3d at 1169. In evaluating this, the Plaintiff’s actions are assumed
 22
      to be consistent with the NCP unless the Defendants’ can show otherwise.
 23

 24   2
        The omission of annual allocations and the addition of 1990-1994 indirect costs in
      the July 7, 2020, letter may be a drafting error, as the latter has long been requested
 25   of Plaintiff State of California. The United States views the primary purpose of the
      July 7, 2020, letter as not being a need for information, which is barely described in
 26   a footnote, but to delay resolution of this matter. Moreover, the letter represents a
      brazen attempt to confuse the issues between the breach of contract action in the
 27   Court of Federal Claims and the CERCLA action in this Court and verges on
      attempting to relitigate the liability ruling made by the Ninth Circuit in 2002.
 28


                                                 17
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  1   Chapman, 146 F.3d at 1170-71. And, important to this discovery dispute, the
  2
      Defendants’ showing must be based on what is in the administrative record. Id.
  3

  4   Judge Kelleher reached the same conclusion in 1993 when he limited discovery

  5   regarding the selection of response actions at the McColl Superfund Site to the
  6
      administrative record, only allowing Defendants to move to supplement the record
  7

  8   upon specified grounds. Order (Feb. 16, 1993, Exhibit A).
  9        With respect to the other discovery requests, the Defendants have already been
 10
      provided all relevant information on multiple occasions. The costs at issue are, for
 11

 12   the most part, the same costs that the United States sought to recover by its Motion
 13   for Summary Judgment filed with the Court in 2006. The main difference today is
 14
      that additional interest has accrued on the unpaid costs sought in 2006, and the
 15

 16   United States has incurred relatively smaller additional litigation costs in their
 17   efforts to recover their response costs and costs for oversight of the remedy.
 18
          The Defendants initially sought all documents related to Annual Allocations
 19

 20   claimed by the United States. 3 Again, the United States has already provided all of
 21
      its cost records, including detailed annual allocation reports, to the Defendants, with
 22
      the most recent supplement of documents provided in January 2020. Moreover, the
 23

 24   Defendants have the declaration of Charles Young, filed in 2006, explaining in
 25
      detail the Annual Allocations. Finally, every court that has addressed the recovery
 26
      3
        “Annual Allocations” refers to the process by which EPA allocates to sites a
 27   contractor’s non-site-specifically charged costs that support, benefit, or relate to site
      response actions.
 28


                                                 18
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  1   of CERCLA response costs has found EPA’s annual allocation to be appropriate
  2
      and consistent with general accounting principles. See, e.g., United States v.
  3

  4   Atchison, Topeka & Santa Fe Ry. Co., No. CV-F-92-5068 OWW, 2003 WL

  5   25518047, at *39 (E.D. Cal July 15, 2003); United States v. Findett Corp., 220 F.3d
  6
      842, 849 (8th Cir. 2000); United States v. Chrysler Corp., 168 F. Supp. 2d 754, 772
  7

  8   (N.D. Ohio 2001).
  9        With respect to the Defendants request that the United States produce all
 10
      documents related to any interest claimed as costs, once again, the United States has
 11

 12   both provided all documents related to the initial accrual of interest on the costs as
 13   well as detailed explanations and documents as to how the interest was calculated.
 14
      Of course, interest is expressly recoverable on all costs incurred by the United
 15

 16   States pursuant to 42 U.S.C. § 9607(a).
 17        Finally, as to the new request for the United States’ methodology and
 18
      calculation of indirect costs from 1990 to 1994, this information was already
 19

 20   provided as early as 2003 and supported by the 2006 Young Declaration and the
 21
      substantially similar 2020 Osbourne Declaration. The Ninth Circuit has upheld
 22
      district courts’ finding that the United States’ methodology used to calculate
 23

 24   indirect costs “‘is an appropriate accounting measure of its indirect costs charged to
 25
      Superfund sites . . . .’” United States v. W.R. Grace & Co., 429 F.3d 1224, 1250
 26
      (9thaxsza+” Cir. 2005) (quoting district court, 280 F. Supp. 2d 1149, 1169 (D.
 27

 28   Mont. 2003)).

                                                 19
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  1

  2
                                         CONCLUSION
  3

  4        The United States has acted in good faith to provide all of the cost information

  5   sought by the Defendants well before the United States filed its motion for
  6
      summary judgment and before it met and conferred with Defendants on December
  7

  8   18, 2019, and March 23, 2020, regarding its motion. Defendants’ belated discovery
  9   is nothing more than another delay tactic in order to continue to postpone United
 10
      States’ recovery of costs for which the Defendants have been found jointly and
 11

 12   several liable. Their attempt to extend the deadlines for the Motion for Summary
 13   Judgment on grounds that discovery is necessary fails to meet the standards under
 14
      Rule 56(d), and their application for ex parte relief fails to demonstrate that they
 15

 16   will be irreparably prejudiced or that they were without fault in creating this
 17   “crisis.” Accordingly, the United States asks that the Court reject Defendants’ ex
 18
      parte application to extend the deadlines to respond to the United States’ motion for
 19

 20   summary judgment.
 21
                                                      Respectfully submitted,
 22

 23
                                                      Plaintiff United States of America
 24

 25
                                                      /s/ William A. Weinischke
 26                                                   William A. Weinischke
                                                      Senior Attorney
 27
                                                      Environmental Enforcement Section
 28                                                   Environment and Natural Resources

                                                 20
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